The judge granted a new trial, upon the plaintiff's paying all the costs, from which order, as to the costs, he appealed to this Court.
The case was submitted.
The Court cannot perceive, in the order appealed from, anything unusual or improper, for it seems to them perfectly reasonable that the plaintiff should pay the costs of the nonsuit, occasioned solely by his absence when the cause was called. If upon the mere motion of the party a new trial could be had under such circumstances, a great *Page 220 
portion of the time of the court would be consumed in awarding nonsuits and restraining causes; for that sort of punctuality required from suitors, and which is so necessary to the regular dispatch of business, cannot well be enforced unless the neglect of it be attended with some inconvenience and loss. When, therefore, an indulgence is asked of the court which involves a loss of the public time and occasions inconvenience to the adverse party, it should be granted only on the payment of the costs.
(285)   Affirmed.
SEAWELL, J., gave no opinion.
NOTE. — See Sheppard v. Salter, 1 N.C. 40; Reynolds v. Boyd,23 N.C. 106.